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                                                       THE HONORABLE MARSHA J. PECHMAN
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 6                             UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 7
      AMAZON.COM, INC., a Delaware
 8    corporation,                                        NO. 2:20-cv-00694-MJP
 9                              Plaintiff,                ORDER GRANTING MOTION TO
                v.                                        WITHDRAW AS COUNSEL FOR
10                                                        DEFENDANTS ROBOJAP
      ROBOJAP TECHNOLOGIES LLC, a                         TECHNOLOGIES LLC AND
11                                                        SANDEEP SINGH
      Washington limited liability company;
12    SANDEEP SINGH, an individual; QUATIC
      SOFTWARE SOLUTIONS PVT. LTD., a
13    foreign company; ANUJ SHARMA, an
      individual; HITESH KUMAR SACHDEVA,
14    an individual; SUKHMEET SINGH BAINS,
      an individual; and GUREEN PAWAR, an
15
      individual,
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                                Defendants.
17         This matter came before the Court on Nold Muchinsky PLLC’s Motion to Withdraw as
18   counsel for Defendants Robojap Technologies LLC and Sandeep Singh. The Court has
19   considered:
20         1.        Defendants’ The Motion to Withdraw;
21         2.        Plaintiff’s Opposition in response, including any declarations thereto, if any; and
22         3.        Defendants’ Reply, including any declarations thereto, if any.
23         Based on the foregoing and finding compliance with LCR 83.2, the Court hereby Orders
24   that the Motion to Withdraw is GRANTED.
25

      ORDER GRANTING MOTION TO WITHDRAW – 1
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 1         Nold Muchinsky PLLC is granted leave to withdraw as counsel for Defendants Robojap
 2   Technologies LLC and Sandeep Singh, effective immediately.
 3         Dated this 1st day of December, 2021.
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                                                   Marsha J. Pechman
 7                                                 United States Senior District Judge

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      ORDER GRANTING MOTION TO WITHDRAW – 2
